Case 6:12-cv-00221-LED-JDL Document 107 Filed 06/17/14 Page 1 of 1 PageID #: 1462



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

   UNIFI SCIENTIFIC BATTERIES, LLC,                §
     Plaintiff,                                    §
                                                   §
   vs.                                             §       Case No. 6:12cv221 LED-JDL
                                                   §
   HTC CORPORATION, et al.,                        §
     Defendants.                                   §
                                        FINAL JUDGMENT

         Pursuant to the Orders granting the parties’ joint motions to dismiss (Doc. Nos. 103 and

  104), the Court hereby enters Final Judgment. Plaintiff Unifi Scientific Batteries, LLC filed suit

  against Defendants HTC Corporation, HTC B.V.I., HTC America, Inc., and Texas Instruments

  Incorporated on March 30, 2012. Since that time, all Defendants have been dismissed.

         It is therefore ORDERED, ADJUDGED and DECREED that the parties take nothing

  and that all pending motions are DENIED AS MOOT. All costs are to be borne by the party

  that incurred them.

         It is further ORDERED, ADJUDGED and DECREED that all claims, counterclaims,

  and third-party claims in the instant suit be DISMISSED in their entirety.

         The Clerk of the Court is directed to close this case.

                 So ORDERED and SIGNED this 17th day of June, 2014.




                                         __________________________________
                                         LEONARD DAVIS
                                         UNITED STATES DISTRICT JUDGE
